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IN THE UNITED STATES COURT OF FEDERAL CLAIMS

DAVID DIAZ,
CASE NO. 1:20-cv-01808-DAT

Plaintiff,
Vv.
UNITED STATES
POSTAL SERVICE,

Defendant.

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Plaintiff, DAVID DIAZ (hereafter “Diaz” or “Plaintiff"), through his undersigned
attorney and pursuant to CFCR 3.1(a)(4). files this Transfer Complaint against the
UNITED STATES POSTAL SERVICE (“USPS”) and alleges the following:

NATURE OF THE ACTION

ke Diaz brings this action against the USPS for breach of contract; quantum
meruit; violations of the Florida Minimum Wage Act (“FMWA”). Fla. Stat. § 448.10, and
Article X, § 24(a) of the Florida Constitution; and the Fair Labor Standards Act (“FLSA”),
29 U.S.C, § 201 et seg

JURISDICTION AND VENUE

2. Venue and jurisdiction are proper because this claim involves a breach of

contract claim against a federal agency, the USPS, and was transferred to this Court from

the U.S. District Court in the Middle District of Florida.

 
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a Plaintiff asked the Middle District Court to transfer only the breach of
contract claim, but the Court instead transferred all of the counts, including those involving
Florida's minimum wage statute and the FLSA.

4. For this reason, Plaintiff at this time is forced to litigate in this Court the

wage-and-hour claims in his original Complaint brought in the Middle District of Florida.

PARTIES
$. Diaz was a mail carrier for the USPS at all times material to this action.
6. Diaz was designated as a contractor, but he performed the same functions

as mail carriers of the USPS who were classified as USPS employees.

7. Diaz had contracts with the USPS to deliver mail in rural areas in Osceola
County, Florida.

8. The USPS is a branch of the United States government doing business in
Osceola and Orange Counties. Diaz’s mail routes were in Osceola County and he reported
to the regional USPS office in Orlando, Florida.

TANCE W j j MEN

% Diaz complied with all procedural requirements by providing the employer
with notice of the violations of the breach of contract, as well as the unpaid wages, and his
intent to initiate this action.

10. The USPS violated the FMWA, the Florida Constitution, and the FLSA by
failing to pay wages due or to otherwise resolve the claims after receiving notice of the

wage violations.

 

 
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FACTUAL ALLEGATIONS

Lt. The USPS contracted with Diaz to deliver mail to a specified number of
rural postal routes, (See Ex. “A” attached).

12. Diaz was incorrectly classified as an independent contractor when he in fact
performed the same function as USPS mail carriers who were designated as employces.

13. As the rural areas in Osceola County grew in population, the number of
mailboxes on Diaz's postal route increased. The USPS required Diaz to continually service
the additional routes resulting in his servicing more mailboxes than were required in his
contract without a proportionate increase in his wages.

14. —s In order to service the additional routes, Diaz was required to work
numerous additional hours. including numerous weeks where he worked more than 40
hours without overtime pay.

1S. Diaz was not compensated for working all of the additional hours and
therefore, was denied both overtime and minimum wages for certain hours worked.
Employees who performed the same services for the USPS were paid overtime and
minimum wages.

16, The USPS failed to pay Diaz for the time required to service the continually
increasing number of customers on his route, which included an increasing number of
packages he was required to deliver.

17. Diaz repeatedly told his supervisors that due to the growth in the number of

his postal routes, he should receive additional pay to compensate for the extra hours he was

required to work.

 
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18. The USPS, however, Knowing the amount of hours Diaz was required to
work to service the growing number of postal routes, declined to adjust the workload to
conform to the requirements of the contract, At the same time, the USPS also failed to pay
Diaz for all of the extra hours he was being forced to work.

19. The USPS failed to pay Diaz for all hours worked, including overtime and
minimum wages, even when it was clear that Diaz would be unable to make all of his
deliveries within eight-hour work days.

20. Diaz continued to work hours in excess of the amount required in his
contract without additional compensation because he was afraid the USPS would take away
his postal routes.

21. The USPS failed to maintain records of all hours worked by Diaz.

22. The USPS, under pressure from federal officials to reduce its budget,
classified rural mail carriers like Diaz as independent contractors in an attempt to avoid
paying overtime and minimum wages.

23. The USPS has classified certain mail carriers as independent contractors,
even though they perform the same function and duties as mail carriers classified as
employees, to avoid paying health benefits. unemployment insurance, and retirement
accounts, in addition to overtime and minimum wages.

24. Diaz was misclassified as an independent contractor for the following
reasons:

a. USPS directed the manner in which his work as a mail carrier was

performed;
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b. Diaz's position was ongoing, extending over a period of six years, which
was the duration of his contract:

c. The service performed by Diaz was an integral part of the USPS’s business
of delivering mail:

d. Diaz was dependent on the USPS for providing the postal routes and
mailboxes for his work;

€. Diaz's work, delivering mail, was performed primarily for the benefit of the
USPS;

f. Diaz was required to follow the instructions of the USPS on where, when
and how the work was to be performed;

g. Diaz's earnings were not dependent on his managerial skill, but on the
amount of work assigned by the USPS. There was litle or no risk of loss as long as Diaz
performed the work assigned by the USPS.

h. The USPS controlled the routes Diaz was required to service, and therefore.
the hours he was required to work.

i. The USPS reimbursed Diaz for travel expenses;

i. Diaz reported to the USPS office in Orlando for his assignments and to pick
up the mail he was required to deliver;

k. Diaz did not work for any other employer during the term of his contract;

I, Diaz and the USPS were not on equal financial footing. Diaz was
economically dependent on the employer.

25. The USPS has engaged in a systematic practice of failing to compensate

workers for all hours worked in order to reduce operating costs.
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26. As a result of the practices of the USPS, Diaz has suffered damages,
including lost wages and contractual benefits.
27. _ Diaz also has incurred attorney's fees in order to vindicate his rights, and

will continue to incur such fees throughout this litigation.

COUNTI
Breach of Contract

28. Diaz re-alleges and incorporates by reference paragraphs | and 2; 5 through
9; 11 through 20; 24(b); 24(d): 24(e); 24(h); 24(j); 24(1): and 25 through 27 into Count I of
this Transfer Complaint.

29. Diaz entered into a valid contract to deliver mail for the USPS in a rural
area in Osceola County. (See Exhibit “A%).

30. The parties to the contracts agreed that Diaz would deliver mail to a
specified number of postal routes in return for a specific amount of compensation.

31. Diaz performed the material elements of the contract in that he delivered
mail to all mailboxes on his postal route and met the terms and conditions of the agreement.

32. Diaz continued to honor his agreement even after the USPS significantly
increased the number of postal routes over and above the number specified in his contract.

33. Diaz did nothing to prevent the USPS from performing the terms and
conditions the employer was required to perform under the contract.

34, _— Diaz did not consent to the changes in the terms of the Agreement. Rather,

he was afraid that if he did not comply, the USPS would take away his postal routes, and

he would lose his source of income.

 
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35. | The USPS breached the contract by continually increasing the number of
postal routes and package deliveries assigned to Diaz without providing similar or
equivalent increases in compensation.

36. The USPS engaged in material breaches in that the terms and conditions
that it violated involved the essence of the contract.

37. The USPS added mailboxes and packages beyond the number allowed in
the contract to Diaz's postal] routes as the areas he served grew in population in recent
years.

38. The USPS refused to pay Diaz for all of the continually increasing number
of customers on his route. The USPS also refused to pay Diaz for all of the increasing
number of packages he was required to deliver.

39. The USPS breached its contract with Diaz when it required him to deliver
packages from large companies, including Amazon and Walmart, which were not included
in his contract.

40. ‘The breach by the USPS forced Diaz to work more than 40 hours most
workweeks.

41. | The USPS’s continuous imposition of additional routes over and above the
number specified in Diaz's contract forced Diaz to work numerous additional hours
without adequate compensation.

42. Diaz repeatedly notified his supervisors that he was unable to meet the new

and changing terms being imposed unilaterally by the USPS.
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43. | However, the USPS continued to breach its contract with Diaz. The actions
by the USPS violated the USPS's own policy regarding the assignment of mailboxes to
mail carriers,

44. Diaz performed all, or essentially all of the essential terms and conditions
the contract required him to perform.

45, Additionally, all conditions required by the contract for the USPS's
performance had occurred.

46. Finally, the USPS failed to do something essential which the contract
required, or it took actions that were not authorized by the contract, when it unilaterally
increased the number of postal routes for Diaz to service.

47, As a result of the material contractual breaches by USPS, Diaz suffered
damages, including lost pay.

48. Asaresult of the breaches by the USPS, Diaz was forced to work numerous
hours without any compensation or without appropriate compensation under the contract.

49, Diaz also incurred compensatory damages as a direct cause of being forced
to work significantly more hours than he was being paid to work.

50. As a direct result of the actions of the USPS, Diaz was forced to pay
attorneys’ fees to vindicate his rights.

DEMAND FOR RELIEF
WHEREFORE, Diaz respectfully requests this Court to award him damages for the

following:

 
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(a) | compensatory damages. including but not limited to all wages Diaz would
have been entitled to receive if his contract had not been breached by USPS, and all other
monetary losses resulting from the USPS breach of its contract with Diaz;

(b) — special damages;

(c) attorney's fees;

(d) injunctive relief; and

{e) any other relief the Court deems necessary.

COUNT
Quantum Meruit

$1. _ Diaz re-alleges and incorporates by reference into Count II paragraphs |
and 2; 5; 7 through 9: through 6; 9; 11; 13 though 21; 24(a); 24(c); 24(d); 24(e); 24(f):
24(h); 24(j); 24(1); 26 and 27 of this Transfer Complaint.

$2. Diaz conferred benefits on the USPS in that he delivered mail to all of the
postal routes provided by the USPS, even when the USPS increased the mailboxes and
package deliveries beyond what was required in his contract.

53. The USPS had knowledge of this benefit and that it was continually
increasing the number of mailboxes on Diaz postal routes.

$4. The USPS was aware that it was continually getting more value from Diaz's
services as it increased the number of customers on his postal routes, and accepted the
benefits provided by Diaz's increasing workload.

$5, It is unfair and inequitable for the USPS to require Diaz to continually work
more and more hours to serve more mailboxes than was required by his contract without

the benefit of equivalent compensation.
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56. The USPS classified Diaz as an independent contractor rather than an
employee to avoid paying him overtime and minimum wages, and to prevent Diaz from
seeking remedies for unpaid wages.

57. This action was taken to unjustly benefit the USPS at the expense of Diaz.
who should not be left without a remedy for violations of federal law because he was
misclassified as an independent contractor.

58. As a result of the actions of the USPS. Diaz incurred compensatory

damages, and was forced to pay attorney's fees in order vindicate his rights.

DEMAND FOR RELIEF

WHEREFORE, Diaz respectfully requests this Court to award him damages for
the following:
(a) compensatory damages;
(b) special damages:
(c) attorney's fees:
(d) —_ injunctive relief; and
(e) any other relief the Court deems necessary.
INT I
’ \ m Wa
The Fair Labor Standards Act, 29 U.S.C. § 201 ef seq.

$9. Diaz re-alleges and incorporates by reference into Count II] the allegations

in paragraphs 1 through 27, including all subparts, as if fully stated in this Transfer

Complaint.

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60. Diaz was a contract mail carrier, but he performed the same job as USPS
employee mail carriers, and therefore was an “employee” as defined in 29 U.S.C. §
203(e)(1) of the FLSA.

61. The USPS misclassified Diaz as a contractor to avoid paying Overtime and
minimum wages as part of an effort to reduce its operating costs.

62. The actions by the USPS violate the spirit of the FLSA in that the USPS
acted with the intent and purpose of avoiding paying overtime and minimum wages to Diaz
and other mail carriers in rural routes,

63. The USPS was an employer as defined by 29 U.S.C. § 203(d) of the FLSA
in that it contracted mail carriers to perform the same tasks as its employee mail carriers.

64. The USPS is an enterprise as defined by 29 U-S.C. § 203(r\(1) in that it
engaged in related activities performed through a uniform operation or common control for
acommon business purpose. The related activities involve delivering mail throughout the
country.

65. The USPS is an enterprise engaged in commerce or in the production of
goods for commerce within the meaning of 29 U.S.C. § 203(s)(1) of the FLSA.

66. The USPS engaged in commerce or in the production of goods for
commerce in that at all times relevant to the claim Defendant was an enterprise with annual
gross sales exceeding $500,000.

67. Atall times during his employment with the USPS, Diaz was treated as not
eligible to receive overtime required by 29 U.S.C. § 207 of the FLSA and 29 C.F.R. § 541.

68. Diaz was misclassified as a contractor by the USPS for the sole purpose of

avoiding paying overtime and minimum wages.

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69. The USPS failed to pay Diaz overtime for workweeks in which he worked
more than 40 hours, in violation of the FLSA. The USPS to pay Diaz at a rate of one and
one-half times his regular rate of pay for each hour worked in excess of 40 hours for
performing the same work of employee mail carriers.

70. Because the USPS violations of the FLSA were willful, Diaz is entitled to
liquidated damages in the same amount as his unpaid wages.

71. As a direct and proximate result of the USPS's illegal acts, Diaz has
incurred damages, including lost wages and overtime, and was forced to pay and will

continue to be forced to pay legal fees and costs in order to vindicate his rights.

DEMAND FOR RELIEF
WHEREFORE, Diaz respectfully requests that the Court award him damages for

the following:

(a) lost wages, including compensation for unpaid overtime and/or minimum
wages;

(b) liquidated damages in the same amount of the lost wages;

(ce) reasonable attorney's fees and costs, pursuant to 29 U.S.C. § 216(b); and

(d) any other relief the Court deems proper.

COUNTIV
Unpaid Minimum Wage
The Florida Minimum Wage Act, Fla. Stat, § 448.110 and
The Florida Constitution, Article X, § 24(a)
72. Diaz re-alleges and incorporates by reference into Count II of this Transfer

Complaint the allegations in paragraphs | through 27. including all! subparts, as if fully

stated herein.

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73. The USPS failed to pay Diaz at least minimum wage for all hours worked
during numerous workweeks.

74. Diaz was an aggrieved person under the FMWA and the Florida
Constitution in that he was not paid for all hours worked.

75. Although the USPS classified Diaz as a contract worker, the purpose of
designating him as a contractor was to avoid paying minimum wages for all hours worked,
and to avoid the intent of the FMWA.

76. Diaz was an aggrieved person authorized to “bring a civil action in a court
of competent jurisdiction” because the USPS failed to pay at least minimum wages for all
hours worked.

77, Diaz has complied with the notice requirements of Section (6a) of the
FMWA in that prior to filing this claim in court, Diaz notified Defendant in writing of his
intent to initiate this action. See Exhibit “B.”

78. The Notice Letter informed the USPS that it owed Diaz minimum wages
for al] hours worked.

79, Upon receiving the Notice Letter, Defendant failed to pay Diaz the wtal
amount of wages owed or to otherwise resolve the claim to the satisfaction of Diaz,

80. When the USPS failed to pay the unpaid wages or resolve the claim, Diaz
was permitted to bring a claim for unpaid minimum wages.

81. The USPS violated the FMWA and the Florida Constitution by failing to
pay Diaz any compensation for certain hours worked during numerous workwecks,

82. If he prevails in this action for unpaid minimum wages, Diaz would be

entitled pursuant to the FMWA and Article X, § 24(e) of the Florida Constitution to recover

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the full amount of any unpaid back wages unlawfully withheld plus the same amount as
liquidated damages, as well as reasonable attorneys fees and costs.

83. As a result of the USPS’s unlawful actions, Diaz suffered damages,
including unpaid wages, and he was forced to incur, and will continue to incur, attorney's
fees in order to vindicate his rights.

ND L

WHEREFORE, Diaz requests that the Court award him damages for the following:

(a) unpaid back wages;

(b) _ liquidated damages in the same amount as the unpaid wages;

(c) reasonable attorney's fees and costs, pursuant to Fla. Stat,

§ 448.110(6)(c}(1) and Fla. Stat. § 448.08; and
(d) —_ any other relief the Court deems proper.
DEMAND FOR JURY TRIAL
Plaintiff demands a jury trial on all issues and counts set forth in this Transfer

Complaint.

Respectfully submitted,

{s| Alfred Truesdell
Alfred Truesdell, Esquire
Florida Bar No. 0885363
Truesdell Law

3521 Tyngsbourgh Drive
DeLand, Florida 32720
(407) 920-7392
truesdelllaw@gmail.com

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Attomey for David Diaz

 
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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 21 of 42

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COST STATEMENT - DETAIL LINE ITEM BREAKDOWN

 

CONTRACTNO: 12882 COST SEOMENT, A COST AS OF: O4t20is

 

 

 

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é WREADEO 813.0 & 317645 $2.02 49

TOTAL $2.002.49

 

 

 

 

 

 
Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 22 of 42

 

 

 

 

; CONTRACT NO. 32882 ORLANDO VENTURA BRANCH FL TO CANDICE CT INO.) Fe

}_ EFFECTIVE DATE COS 03/31/2015

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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 23 of 42

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Bad iestheseetee. AMENOMENT TO TRANSPORTATION SERVICES CONTRACT

 

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1. AMENOMENT PURSUANT TO

 

 

 

 

 

 

 

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3, OCSCRIPTION OF AMENDMENT

 

FINALIZE EXPIRING CONTRACT

As 3 rauyit of renewal nugotistions between SUOm er and Ihe Posts: Serrce, contrect is amended ua stated.
NEW CONTRACT RATE $63,606.98 PER ANNUM
Oficial pais Son COUNT 745

Adjust Day dy $5.064.0$ PER ANNUM, etfective SEE AurivE
Scheduled encwual mileage 11.0621: NEW rate oar mile $6.74999

Except on provided herein, af terms and consitions of the ooveact ceacribes 6 tock * Teme Uncherged anc in (tl force arc etect

 

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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 24 of 42

January +9, 2012

DAVID DIAZ

 

Snape ee
‘PREPNDO TS aaneross*

RE: Negotiated Service Change on HCR 22882
Dear S sp >i e-

The Pos:al Service intends to change ihe service requirements on HCR 32832
(ORLANCO VENTURA BRANCH, FL. CANDICE CT (N.O.). FL) as shown on ire

enc.osed HCR Schedule Information sheet. Terms and Conditons. Clause 8-67 Changes
(COS), Section 2.2 requres thet we negotiate an aporopriate price adjustment with you tor

The current schedule was based on Administrative Official’s survey of contract roult
Several streets were added to correct the contract's line of travel.

Net effect of changes:

Increase: annual miles by 5,425

increase annua! hours by 181

NeTeSse ennual Contract fue! gallons by 387

Onty costs attributed to this change may be considered. Adjustinents in the raw .!
compensation to effect economic increases or correct bid errors are not allowahile.

Please complete PS Form 74634, showing your new costs and return to this office
You may return the PS Form 74634 via e-mail to
angela. a.wilson@usps.gov or by fax to 650-577-2808,

Any quesbons may be directed to Angela Wilson at 901-747-7576
Sincerely,

Angola Wilson, C.O R.

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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 25 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Highway Transportation Contracts Mtoe
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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 26 of 42

 

CONTRACTNO. 32892

 

 

 

 

 

 

 

 

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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 27 of 42

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ORLANDO VENTURA BRAXCH

US POSTAL SERVICE

7360 CURRY FORD RD
ORLANDO ITTY FL 32872-s099
407-277-5501

TRIP PURPOSE AND MAIL class,

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PURPOSE
BOX DELIVERY
BOX DELIVERY

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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 28 of 42

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SUPPLIER CASING MARK UP};
TRIP OFFICE NANR BOXES START END

2 ORLANDO VENTURA BRANCH, Fl, 13:45 + Lesa:

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PART A

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F UNITED STATE:

POSnL SERVICE AMENOMENT TO TRANSPORTATION SERVICES CONTRACT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Purpose changes.

The current schedule was based on Admin f
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Net effect of changes:
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Scheduled annvet mileage i! 062.1: Few rate Der me $3, 78082

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3. DESCRIPTION OF AMENOMENT
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PRINCIPAL US POSTAL SERVICE

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CONTRACTING OFFICER

 

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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 30 of 42

SIOTES _ Negotiated Cost Statement cece Se
Highway Transportation Contracts
0331/2013

 

 

ORLANDO VENTURA BRANCH FL CANDICE CT (W.O.), FL

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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 31 of 42

POSTAL SERVICE «

Cost Statement

ORLANDO VENTURA BRANCH, FL

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Highway Transportation Contracts

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Bed oars AMENDMENT TO TRANSPORTATION SERVICES CONTRACT
1, AMENOMENT PURSUANT TO

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3, DESCRIPTION OF AMENDMENT
FINALIZE EXPIRING CONTRACT

As @ result of renewal negotiations Setween supplier and the Postal Service, contract is amended as stated.
NEW CONTRACT RATE: $29,351.59 PER ANNUM
Official paid box COUNT: 342

Adjust pay by <$357.89> PER ANNUM, effective SEE ABOVE.

Scheduled annual mileage 5,637.1; NEW rate per mile $5.20684
Excet as provided herein, a items anc conditions of the comm@act Cescibed in block | rear unchanged and i full force anc effect.
&. The parties Pave coused this amencenent to be executed, effective the date set tor in block 6,

 

 

 

 

 

 

PRINCIPAL U.S, POSTAL SERVICE
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AMGR TRANSPORTATION CONTRACTS
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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 33 of 42

 

 

 

 

 

 

 

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DAVID DIAZ

 

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AMGR TRANSPORTATION CONTRACTS 3 - Adminatrative Oficial
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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 34 of 42

 

 

 

 

 

 

 

 

 

PS FORM 7440 - CONTINUATION SHEET
CONTRACT NO. 32682 ORLANDO VENTURA BRANCH, FL TO CANDICE CT (N.O.), FL
EFFECTIVE DATE 07/01/2009 ORDER NO. 300.05685-05
oud new BUDGET
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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 35 of 42

 

 

 

 

 

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LUMP SUM TRANSACTION

PAYMENT FOR TOLLS - AUGUST 2008

 

Allow lump sum adjusiment to supplier's pay as shown on the attached

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 36 of 42

 

  

 

 

 

 

 

PS FORM 7440 - CONTINUATION SHEET
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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 37 of 42

 

 

 

 

 

 

 

 

 

 

UNITED STATES TRANSPORTATION SERVICES PROPOSAL & CONTRACT
POSTAL SERVICE « FOR REGULAR SERVICE
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Case 1:20-cv-01808-DAT Document 31 Filed 01/08/21 Page 38 of 42

UNITED STATES
POSTAL SERVICE* HIGHWAY TRANSPORTATION CONTRACT ~~ COST WORKSHEET

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Al Truesdell

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November 9, 2018
Re: David Diaz v. United States Postal Service

Edith Rosen

Deputy Managing Counsel
United States Postal Service
P.O. Box 6634

Clearwater, Florida 33748
(407) 464-2934

Dear Ms. Rosen:

I have the pleasure of representing David Diaz, a mail carrier for the United
States Postal Service (“USPS”) in Florida. Mr. Grisales ts seeking $130,000 in wages
for hours worked for which he was not paid from April 2015 through August 9,
2017. Mr. Grisales had a contract to deliver mail in a rural area in Central Florida in
Orange County.

The USPS breached the contract and was unjustly ennched by continuing to
add mail routes and package deliveries without compensating Mr. Diaz for the
additional hours required to provide those services. The USPS also violated the Fair
Labor Standards Act ("FLSA"), 29 U.S.C. §§ 201 to 219, by failing to pay Mr. Diaz
overtime when he worked more than 40 hours per week. The failure to pay wages
owed also constituted wage theft under the FLSA. When Mr. Diaz complained about
his unpaid wages, he was threatened with termination in retaliation for his lawfully
protected activity.

Additionally, Mr. Diaz, a Hispanic male, was treated less favorably than non-
Hispanic, English-speaking mail carriers because of his national origin and his lack
of fluency in speaking English. See 42 US.C. § 2000¢ et seg. Mr. Diaz was told by a
supervisor that he could not speak Spanish in the workplace when engaged in
personal conversations with other Hispanic workers,

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The USPS failed to pay Mr. Diaz for hours worked that resulted from
continually adding mailboxes to his assigned routes as his postal area grew in
population. Mr. Diaz has a six-year contract that extended from April 1, 2015
through March 31, 2021. contract provided he would be paid to deliver 40 cubits of
mail per month. For more than two years, Mr. Diaz was required to deliver 150
cubits of mail per month with no additional compensation. The increase breached
his contract and violated state and federal wage-and-hour laws. The USPS refused to
pay Mr. Diaz for the continually increasing number of customers on his route, as
well as the increasing number of packages he was required to deliver. Mr. Diaz was
required to deliver priority mail packages as well as packages from companics,
including Amazon and WalMart, even though this task was not included in his
contract.

During the duration of Mr. Diaz's contract, the USPS continually increased the
number of mail customers on his route without corresponding increases in
compensation. The continuous imposition of additional routes and packages forced
Mr. Diaz to work more than 40 hours in numerous workweeks without any
overtime compensation. The workload was especially heavy on Christmas Eve.

Mr. Diaz told his supervisors that he could no longer service all of the postal
routes assigned by the USPS. He was being forced to work excessive hours due to
the population growth of the area. However, the USPS declined to reduce the service
areas or pay Mr. Diaz for the extra hours he was force to work. By failing to do so,
the USPS violated its own policies limiting the number of mail boxes assigned to
mail carriers.

When Mr. Diaz complained about his unpaid overume, he was threatened
with termination. The USPS failed to pay Mr, Diaz overtime even when it was clear
that he would be unable to make all of his deliveries within an cight-hour work day.
Mr. Diaz continued to work excessive hours without pay because he was afraid of
being disciplined or of losing his postal routes.

The USPS failed to maintain records of all hours worked by Mr. Diaz. This
failure violated the FLSA requirement to document all hours worked. The USPS
cannot avoid paying overtime by attempting to classify postal workers as
independent contractors. Attempts to classify employees as contractors in order to
save on health benefits, unemployment insurance, retirement accounts and
overtime pay have resulted in numerous class action lawsuits around the country.
Several Federal Express drivers filed a class action unpaid wages lawsuit and were
awarded more than $900,000 in damages.

The USPS also has been the subject of numerous class action lawsuits by mail
carriers for attempting to reduce its budget by failing to pay overtime wages.
Employees in several of those lawsuits have alleged, like Mr. Diaz, that they were
unable to complete their duties during working hours. The lawsuits also claim that
in an effort to slash operating costs by climinating overtime, the USPS has engaged

 
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in a systematic practice of not compensating workers for all hours worked in
violation of the FLSA.

As a result of the actions of the USPS, Mr. Diaz has suffered extensive
damages in the form of unpaid wages. The FLSA statute of limitations is three years
because this is a willful violation, Mr. Diaz is also entitled to liquidated damages,
which would double the amount of damages. Additionally, Mr. Diaz is entitled to
damages for breach of contract, which go back another two years beyond the FLSA
claims. The breach of contract claim is governed by a five-year statute of limitations,
which would include additional unpaid wages. For his national origin
discrimination claim, Mr. Diaz also is entitled to damages for emotional distress. In
addition, Mr. Diaz is secking reimbursement of his attorney fees, which total will
increase substantially if the parties continue to litigute this matter. Based on these
reasonable calculations, Mr, Diaz's reasonable damages total approximately
$110,000.

Despite the significant damages, Mr. Diaz would be willing to schedule pre-
litigation mediation in an attempt to reach an amicable resolution to this matter. It
has been my experience in representing both employees and employers that many
disputes can be resolved by mediating a matter before the parties invest significant
time and resources litigating in court. Please ict me know if the USPS would be
interested in engaging in pre-suit mediation or in informal settlement negotiations
in order to resolve this matter.

Sincerely,

J

Alfred Truesdell, Esquire

 
